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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON

UNITED STATES OF AMERICA

v.                                       CRIMINAL NO. 2:93-00196-02

JEROME MAURICE THOMAS

                      MEMORANDUM OPINION AND ORDER

         The court is proceeding on its own motion, pursuant to 18

U.S.C. § 3582(c)(2), to consider defendant’s eligibility for

reduction in sentence based on a subsequent reduction in the

applicable sentencing guideline.        On November 1, 2010, pursuant

to the Fair Sentencing Act of 2010, the United States Sentencing

Guidelines were amended, resulting in reductions in the

guidelines in Section 2D1.1 for cocaine base.            These temporary,

emergency amendments to the Guidelines took effect on November 1,

2010.   Permanent amendments implementing the Act were promulgated

on April 6, 2011, with an effective date of November 1, 2011.

Subsequently, the Sentencing Commission voted to give retroactive

effect to the permanent amendments.         Pursuant to a Standing Order

entered on October 7, 2011, the court hereby DESIGNATES this

Defendant for Standard consideration.          The court DIRECTS the

Federal Public Defender to undertake representation of the

Defendant or seek the appointment of counsel.
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         The court further DIRECTS that, within ten days of the

entry of this Order, the United States and Defendant* file

written memoranda addressing all relevant issues, including

eligibility, whether Defendant should receive a reduction, and,

if so, the extent of any reduction.

         The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Order to Defendant, the United States Attorney, the

Federal Public Defender, and the United States Probation Office.

         IT IS SO ORDERED this 23rd day of May, 2013.

                                         ENTER:


                                         David A. Faber
                                         Senior United States District Judge




         *
         Counsel for defendant has already filed a memorandum
regarding defendant’s eligibility for a sentence reduction under
the Fair Sentencing Act. Defendant may rest on his previous
filings or file an additional memorandum if he chooses.

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